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                          De# ndant(s)


                                 PR O SE C IW L R IG H TS C O M PLA IN T
                                                      (Non-prisoner)
          JUR ISD ICTIO N

          Subjectmatterjurisdiction isinvoked under28 U.S.C.j 1331,28U.S.C.j 1343(a)(3),
          and/or42U.S.C.j 1983.Listany additionalbasesforfederalsubjectmatterjkrisdiction
          here:                                                                                                             ',


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 II.      PA R TIE S

          Plaintiff:

          A. plaintifr,a citizen ot- CI      XTJQ S
                                                  .- (state),who resides at
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                                                    (        ,allegesthathisier
                        civilrightswereviolatedbytheindividualts)namedbelow.
          Defendant#1:
                                                          z                                                *
          B             Defendant                  Rm.
                                                     e-              t          c (à()c'-                      isemployedas
                                                    (a)           (Nam'
                                                                      eofFirstDefen-dant)
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                                                                                                              sx.'
                                                                                                                 s' '&N
                                                    (b)                  (Position/-
                                                                                   fitle)                                                                         .




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                                                                ,
              With                   O /)                            zz-
                                                                       s(-             -
                                     (c)        (Employer'sNameandAddress)



               Atthetimetheclaimts)allegedthiscomplaitarose,wasDefendant#1employed
               bythestate,local,orfederalgovernm ? Yes I-S No
               lfyouranswerisY ES,briefly explain:

                                                     J          w(D$o/       ..
                                                                              -
                                                                                  J
               Check one ofthe following:

                      Thisdefendantpersonally participated in causing my injury,and lwant
                      m oney dam ages.

                      The policy or custom of this official's governm ent agency violates m y
                      rights,andIseekinjunctiverelief(tostoporrequiresomeonetosomething).


         D efendant#2:
         C.
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               oerendant .-
                          .                a./?.zo/.,..x        '->                   isemployedas
                                     t'
                                      NameofSecondDefendant)
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                                 (Employer'
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                                                , .x,
                                           NameandAddress)
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                                               v g

              Atthetimetheclaimts)allegedinthiscomplintarose,wasDefendant//2employed
              bythestate,local,orfederalgovernme                    Yes U-lNo
              Ifyou answeris Y ES,briefly explain'
                                                 .



              Check one ofthe follow ing:

                      Thisdefendantpersonally participated in causingmy injury,and 1want
                      m oney dam ages.

                      The policy or custom of this official's governm ent agency violates m y
                      rights,andlseekinjunctiverelief(tostoporrequiresomeonetosomething).

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         REQUEST FOR RELIEF (checkasmany boxesasappropriate)
         Plaintiffrequeststhatthecourtgrantthe following relief:

                  compensatorydamagesintheamountof$ '' ,Og .
                                                           L'
                                                            ) vo o o
                  punitive damagesin theamountof$                               .

                  Anorderingrequiringdefendantts)to:
                                                     M1 gx           .,

                  Adeclarationthat:                          '(wW ios
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                   her:                  J               6*
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 VI. JURY DEM AND (checkoneboxbelow)
         Plainti      doesorO doesnotrequestatrialbyjury.


             D E CLA R ATIO N UN D ER FEDER AL RU LE O F CIVIL PR O C EDU R E 11

 1 certify to the best of my knowledge,infonnation, and belief,that this complaint is in full
 compliancewithRule11(a)and11(b)oftheFederalRulesofCivilProcedure.Theundersignedalso
 recognizesthatfailure to com ply with Rule 11m ay resultin sanctions.



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         D efendant#3:
                                 '

         D. Defendant                          R(y
                                                 'Jz . .                        isemployedas
                                     (NameofThirdDefendant)
                  g ifY c p.r.       s..o
                                             (Positionlitle)

               With                  t'à-t?ù O't-0                   2 3-o.n (5-p y'
                                     (Employer'sNameandAddress)



               Atthetimetheclaimts)allegedinthiscomplai arose,wasDefendant//3employed
               bythestate,local,orfederalgovernme .               Yes I'--INo
               lfyou answeris Y ES,briefly explain:



               Check one ofthe follow ing:

                      Thisdefendantpersonally participated in causingmy injury,andlwant
                      m oney dam ages.

                      The policy or custom of this ofticial's governm ent agency violates m y
                      rights,andIseekinjunctiverelief(tostoporrequiresomeonetosomething).

         AdditionalDefendantts)(ifany):
         E.    Using the outline set forth above,identify any additionalDefendantts),using
               additionalpages,ifnecessary.




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  111.   PR EV IO US LA W SUITS

               H ave you begun any oth rlaw suits in thisfederalcourt?
                           F--IYes      No
         B.    Ifyouranswertot:A''isYES,describeeach lawsuitin thespacebelow.Ifthere is
               m ore than one law suit,you m ustdescribe the additionallaw suitson anothersheetof
               paperusing the sam e outline.

                      Partiesto previous law suits'
                                                  .

                             Plaintiffts):

                                             po
                             Defendantts):

                                             VJ
                      Case num ber:
                                                      y
                      N am e ofJudge to whom case w asassigned:
                                                      #
              4.      Dispositionofcase(forexample:W asthecasedismissed? W asitappealed?
                      Isitstillpending?):

                                             ##




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 lV.    STA TEM EN T O F C LA IM

        State here, as brietly as possible, when,where, how, and by whom you feel your
        constitutionalrightswereviolated.Donotincludelegalargumentsorcitations.Ifyouwish
        to presentlegalargum entsorcitations,tilea separatem emorandum oflaw .Ifyou intend
        to allege severalrelated claim s,numberand setfol'
                                                         th each claim in a separateparagraph.



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